Case 1:07-cr-00184-MJT        Document 590       Filed 12/09/08      Page 1 of 8 PageID #: 1398




                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
                                                 §
 VS.                                             §   CASE NO. 1:07-CR-184(9)
                                                 §
 JANICE DEATON FAILS                             §


          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        The District Court referred this matter to the undersigned United States Magistrate Judge

 for administration of a guilty plea and allocution under Rules 11 and 32 of the Federal Rules of

 Criminal Procedure. Magistrates have the statutory authority to conduct a felony guilty plea

 proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United States v. Bolivar-

 Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

        On December 9, 2008, this cause came before the undersigned United States Magistrate

 Judge for entry of a guilty plea by the Defendant, on Count 1 of the charging Second

 Superseding Indictment filed in this cause. Count 1 of the Second Superseding Indictment

 charges that from on or about September 1, 2006, and continuing thereafter until on or about

 August 27, 2007, in the Eastern District of Texas and elsewhere, Janice Deaton Fails, and several

                                               -1-
Case 1:07-cr-00184-MJT         Document 590         Filed 12/09/08      Page 2 of 8 PageID #: 1399




 other named Defendants, did knowingly and intentionally combine, conspire, and agree with

 each other, and with other persons known and unknown to the Grand Jury to knowingly and

 intentionally possess with intent to distribute 500 grams or more of a Schedule II controlled

 substance, namely a mixture or substance containing a detectable amount of methamphetamine,

 in violation of Title 21, United States Code, Section 841(a)(1), all in violation of Title 21, United

 States Code, Section 846.

        Defendant, Janice Deaton Fails, entered a plea of guilty to Count 1 of the Second

 Superseding Indictment into the record at the hearing.

        After conducting the proceeding in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11 the Court finds:

        a.      That Defendant, after consultation with counsel of record, has knowingly, freely

 and voluntarily consented to the administration of the guilty plea in this cause by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court.

        b.      That Defendant and the Government have entered into a plea agreement which

 was disclosed and addressed in open court, entered into the record, and placed under seal.

        c.      That Defendant is fully competent and capable of entering an informed plea, that

 Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

 personally in open court, the Court determines that Defendant’s plea is voluntary and did not

 result from force, threats or promises. See FED . R. CRIM . P. 11(b)(2).


                                                 -2-
Case 1:07-cr-00184-MJT         Document 590      Filed 12/09/08     Page 3 of 8 PageID #: 1400




        d.       That Defendant’s knowing, voluntary and freely made plea is supported by an

 independent factual basis establishing each of the essential elements of the offense and

 Defendant realizes that her conduct falls within the definition of the crime charged under 21

 U.S.C. § 846.

                                   STATEMENT OF REASONS

        As factual support for Defendant’s guilty plea, the Government presented the following

 evidence, which was admitted into the record at the plea hearing. See Factual Basis and

 Stipulation. If the case proceeded to trial, the Government and Defendant agreed and stipulated

 to the information set forth in the factual basis which would be used by the Government in

 support of the Defendant’s plea of guilty. The Government and Defendant agreed that the

 Government would have proven that Defendant is one and the same with the person charged in

 the Second Superseding Indictment and that the events described in the Second Superseding

 Indictment occurred on the dates as alleged in the Eastern District of Texas. The Government

 and Defendant agreed that the Government would have proven, through the testimony of

 witnesses and through admissible exhibits, beyond a reasonable doubt, each and every essential

 element of the offense alleged; specifically, the Government would have proven certain

 stipulated facts set forth in the Factual Basis, on file in the record of this cause. The Factual

 Basis states those facts as follows:

        The Government would present the testimony of expert witnesses and admissible exhibits

 to prove that on or about September 1, 2006, conspirator Michael Boyd Jenkins began

 purchasing multi-ounce quantities of methamphetamine from co-conspirators, Gregory Lucas


                                               -3-
Case 1:07-cr-00184-MJT        Document 590        Filed 12/09/08     Page 4 of 8 PageID #: 1401




 Pena and Scott Lewis Christie in Houston, Texas and/or in Tyler County, Texas. Pena and

 Christie received this methamphetamine from co-conspirator Eddie Perez, Jr. All of the

 methamphetamine purchased by Michael Jenkins was brought into the Eastern District of Texas

 and was distributed to other co-conspirators to be further distributed throughout the Tyler

 County area. Michael Jenkins and other co-conspirators continued this bi-weekly purchasing of

 methamphetamine until on or about December, 2006.

        On or about December 14, 2006, co-conspirators Noel Garza and Amanda Marie Zepeda

 became involved in the conspiracy by receiving the methamphetamine directly from co-

 conspirator, Eddie Perez, Jr. and his associates acting on his behalf and distributing the multi-

 ounce quantities of methamphetamine to Michael Jenkins and other co-conspirators. Pena and

 Christie continued their involvement during this time by directing Garza and Zepeda in the

 distribution and retrieving the money from Garza and Zepeda once the methamphetamine was

 distributed. Garza and Zepeda continued their involvement in this conspiracy until they were

 arrested on January 24, 2007.

        On or about January 24, 2007, co-conspirators Pena and Christie became involved again

 in the actual distribution of the methamphetamine they received from co-conspirator Perez,

 which was then distributed to Michael Jenkins and other co-conspirators.

        On or about April 1, 2007, co-conspirator Ernest Wayne Jenkins became involved in this

 conspiracy.   Ernest Jenkins began traveling with Michael Jenkins to Houston, Texas and

 received his own multi-ounce quantities of methamphetamine from Pena and Christie and Eddie

 Perez, Jr., to distribute throughout Tyler County, Texas and the Eastern District of Texas. Ernest


                                               -4-
Case 1:07-cr-00184-MJT         Document 590        Filed 12/09/08   Page 5 of 8 PageID #: 1402




 Jenkins then distributed the methamphetamine received to at least five of the co-conspirators to

 further distribute throughout the Eastern District of Texas.

        On or about July 15, 2007, Eddie Perez, Jr., ended his participation in the conspiracy.

 However, at this time, Michael Jenkins, Ernest Jenkins and other co-conspirators began

 receiving multi-ounce quantities of methamphetamine from co-conspirator Alfred Resendez,

 a/k/a "Mingo" bi-weekly. These multi-ounce quantities of this methamphetamine was then

 distributed by Michael Jenkins and Ernest Jenkins to other co-conspirators to be distributed

 throughout the Eastern District of Texas. The conspiracy was concluded on August 27, 2007

 when Michael Jenkins, Arthur Richard Gernon, and David Ryan Corbitt were arrested in the

 Eastern District of Texas after receiving a quantity of methamphetamine from Resendez in

 Houston, Texas.    The substance recovered from Michael Jenkins, Gernon and Corbitt was

 determined by a forensic analyst with the Jefferson County Crime Laboratory to be

 methamphetamine in an amount of 81.32 grams.             The total amount of methamphetamine

 distributed in this conspiracy from on or about September, 2006 until August 27, 2007, is

 approximately 25 kilograms.

        During this entire conspiracy, co-conspirators, Steven Eldridge Harville, William Earl

 Callaway, Jr., Janice Fails, John Wayne Watts, Darren Russell Votaw and Edward Buford Hoyt

 received portions of the quantities of the methamphetamine received by Michael Jenkins and/or

 Ernest Jenkins and distributed this methamphetamine throughout the Eastern District of Texas.

 At the guilty plea hearing, the Government also proffered the fact that Ms. Fails received the

 quantities of methamphetamine as stated above.


                                                -5-
Case 1:07-cr-00184-MJT                 Document 590              Filed 12/09/08           Page 6 of 8 PageID #: 1403




          Defendant, Janice Fails, agreed with the facts set forth by the Government and signed the

 Factual Basis and Stipulation.                 Counsel for Defendant and the Government attested to

 Defendant’s competency and capability to enter an informed plea of guilty. The Defendant

 agreed with the evidence presented by the Government and personally testified that she was

 entering her guilty plea knowingly, freely and voluntarily.

                                        RECOMMENDED DISPOSITION

          IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count 1 of the charging Second Superseding Indictment on

 file in this criminal proceeding. The Court also recommends that the District Court conditionally

 accept the plea agreement.1 Accordingly, it is further recommended that, Defendant, Janice

 Deaton Fails, be finally adjudged as guilty of the charged offense under Title 21, United States

 Code, Section 846.



           1
             “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
 that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
 the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and
 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.” F ED . C RIM . P. 11(c)(3)-(5).


                                                              -6-
Case 1:07-cr-00184-MJT        Document 590        Filed 12/09/08     Page 7 of 8 PageID #: 1404




        Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. At the plea hearing, the Court admonished the Defendant

 that the District Court may reject her plea and that the District Court can decline to sentence

 Defendant in accordance with the plea agreement, the federal sentencing guidelines and/or the

 presentence report because the sentencing guidelines are advisory in nature. The District Court

 may defer its decision to accept or reject the plea agreement until there has been an opportunity

 to consider the presentence report. See FED . R. CRIM . P. 11(c)(3). If the Court rejects the plea

 agreement, the Court will advise Defendant in open court that it is not bound by the plea

 agreement and Defendant may have the opportunity to withdraw her guilty plea, dependent upon

 the type of the plea agreement. See FED . R. CRIM . P. 11(c)(3)(B). If the plea agreement is

 rejected and Defendant still persists in the guilty plea, the disposition of the case may be less

 favorable to Defendant than that contemplated by the plea agreement. Defendant has the right to

 allocute before the District Court before imposition of sentence.

                                          OBJECTIONS

        Within ten (10) days after receipt of this report, any party may serve and file written

 objections to the report and recommendation of the Magistrate Judge pursuant to 28 U.S.C. §

 636(b)(1)(C). Failure to file written objections to the proposed findings of facts, conclusions of

 law and recommendations contained within this report within ten (10) days after service shall bar

 an aggrieved party from de novo review by the District Judge of the proposed findings,

 conclusions and recommendations, and from appellate review of factual findings and legal

 conclusions accepted by the District Court except on grounds of plain error. Douglass v. United


                                                -7-
Case 1:07-cr-00184-MJT        Document 590        Filed 12/09/08     Page 8 of 8 PageID #: 1405




    . Auto. Ass’n., 79 F.3d 1415 (5th Cir. 1996) (en banc); 28 U.S.C. § 636(b)(1).
 Serv.                                                                                         The

 constitutional safeguards afforded by Congress and the courts require that, when a party takes

 advantage of his right to object to a magistrate’s findings or recommendation, a district judge

 must exercise its nondelegable authority by considering the actual evidence and not merely by

 reviewing and blindly adopting the magistrate’s report and recommendation. See Hernandez v.

 Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir.

 1981) (per curiam).



                       SIGNED this the 9th day of December, 2008.




                                                        ____________________________________
                                                        KEITH F. GIBLIN
                                                        UNITED STATES MAGISTRATE JUDGE




                                               -8-
